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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

LA'SHANDA MICHELE FARMER,                         )
                                                  )
                  Plaintiff,                      )
                                                  )
          v.                                      )             No. 4:18-CV-207 NCC
                                                  )
F.B.I.,                                           )
                                                  )
                  Defendant.                      )

                                 MEMORANDUM AND ORDER

          Plaintiff seeks leave to proceed in forma pauperis in this civil action under Title VII of

the Civil Rights Act of 1964, as amended 42 U.S.C. §§ 2000e et seq., for employment

discrimination.     The motion is granted.    On initial review, however, the Court will dismiss

plaintiffs case without prejudice under 28 U.S.C. § 1915(e).

                                        Standard of Review

          Under 28 U.S.C. § 1915(e), the Court is required to dismiss a complaint filed in forma

pauperis if it is frivolous, malicious, or fails to state a claim upon which relief can be granted.

To state a claim for relief, a complaint must plead more than "legal conclusions" and

"[t]hreadbare recitals of the elements of a cause of action [that are] supported by mere

conclusory statements." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).              A plaintiff must

demonstrate a plausible claim for relief, which is more than a "mere possibility of misconduct."

Id. at 679. "A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged." Id. at 678. Determining whether a complaint states a plausible claim for relief is a
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context-specific task that requires the reviewing court to draw on its judicial experience and

common sense. Id. at 679.

        When reviewing a complaint under 28 U.S.C. § 1915(e), the Court accepts the well-pled

facts as true. Furthermore, the Court liberally construes the allegations.

                                          The Complaint

        Plaintiff alleges she has been an investigator for the FBI since 1985, but has never been

paid. She states:

        The workers at the downtown St. Louis, MO office and Springfield, IL knew of
        my struggles as a single mother and the pain me and my children went through. I
        would call and sometimes they would hang up and they still do. They didn't care
        if we had food, a place to live, transportation, or daycare. They made [us] live off
        of food stamps and [illegible] and general assistance.

        When I had my first child on Aug. 19, 1987 at Belleville Memorial Hospital in
        Belleville, IL they did nothing to assist in getting my child. I called and told them
        I was homeless, I had no money and no identification. I then called again the
        same year I went Job Corps, the agent asked me did I use my real name which is
        Shonda Williams, I said no. I told him I was in the hospital under the La' Shanda
        Michele Farmer 3/24/73 name and DOB and I was in a car accident. I also told
        him that the woman that uses the name Yvette V. [illegible] hit me in the top of
        the head with a hammer. I have the scar still on my right frontal lobe is from the
        car accident and I had surgery. He told me to meet him at the Social Security
        Office to get the SSN for that made up name and get my child. I told him I had
        no money, he got mad at me etc.

For relief, plaintiff states:

        I want my [salary] I haven't received since after 1985, and justice for me and my
        children. I want my two oldest children. I want to end my employment. I want
        my biological birth certificate and SSN.

                                            Discussion

        Plaintiffs complaint is largely duplicative of one she filed in the Southern District of

Illinois on December 10, 2013. See Farmer v. Dep 't of Justice (FBI), No. 3:13-CV-1272 DRH-

PMF (S.D. Ill. filed Dec. 10, 2013). That case was dismissed as frivolous and without merit.



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See id. at ECF No. 5. This case, too, will be dismissed on initial review as frivolous and without

merit.

         Plaintiff believes she was hired in 1985 and is still employed as an FBI investigator;

however, she has never been paid. She states the FBI kept her working after she wanted to end

her employment and her "two oldest [children] got kidnapped." She claims "they knew of plots

that people attempted and harmed me and my children."

         None of these allegations, even if accepted as true, suffice to state a claim that plaintiff

suffered unlawful discrimination as an employee of the FBI. Nor does the complaint state a

plausible claim for violations of her constitutional rights by persons acting under the color of

federal authority. See Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403

U.S. 388 (1971).

         Additionally, the Court finds the allegations in plaintiffs complaint are factually

frivolous under Denton v. Hernandez, 504 U.S. 25, 32-33 (1992).              An action is factually

frivolous if the facts alleged are "clearly baseless." Allegations are clearly baseless if they are

"fanciful,'' "delusional," or "fantastic." Id. The Court finds plaintiffs complaint is frivolous and

without merit, and should be dismissed under 28 U.S.C. § 1915(e)(2)(b).

         Accordingly,

         IT IS HEREBY ORDERED that plaintiffs motion to proceed in forma pauperis is

GRANTED. [ECF No. 3]

         IT IS FURTHER ORDERED that this action is DISMISSED without prejudice

pursuant to 28 U.S.C. § 1915(e)(2)(B).




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    An Order of Dismissal will accompany this Memorandum and Order.

    Dated this L a y of February, 2018.




                                          RONNIE L. WHITE
                                          UNITED STATES DISTRICT JUDGE




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